Case 1:21-cv-01125-HG-CLP            Document 114      Filed 02/10/25      Page 1 of 2 PageID #:
                                             513



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------ x
ILUMINADA ORTEGA,                    :
                                     :                    Case No.: 1:21-cv-1125 (HG) (CLP)
                    Plaintiff,       :
                                     :                    DECLARATION OF EMANUEL
                 v.                  :                    KATAEV, ESQ. AS TO SERVICE
                                     :                    OF THE FOURTH AMENDED
CHAMPAGNE ROOM BK, INC d/b/a DRAFT   :                    COMPLAINT ON DEFENDANT
BARN d/b/a END ZONE SPORTS BAR &     :                    SARKIS AVOYANTS IN
LOUNGE, RUBEN YEGHOYAN, and SARKIS :                      ACCORDANCE WITH THIS
AVOYANTS,                            :                    COURT’S SCHEDULING ORDER
                                     :
                                                          DATED FEBRUARY 10, 2025
                    Defendants.      :
------------------------------------ X

         Emanuel Kataev, Esq., declares, pursuant to 28 U.S.C. § 1746, under penalty of perjury,

  that the following is true and correct:

         1.      I am admitted to practice before this Court and am a member of Sage Legal LLC,

  who are the attorneys for the in this case.

         2.      As such, I am familiar with all the facts and circumstances heretofore had herein

  based upon my personal knowledge and a review of the file maintained by this office.

         3.      On February 10, 2025, I caused Defendant Sarkis Avoyants to be sent a hard

  copy of the Fourth Amended Complaint (ECF Docket Entry 100) and the Summons dated

  February 10, 2025 (ECF Docket Entry 113) via first class mail. A copy of proof of mailing is

  annexed hereto as Exhibit “A.”



         I declare under penalty of perjury that the foregoing is true and correct. Executed on

  February 10, 2025.

                                                     /s/ Emanuel Kataev, Esq.
                                                     Emanuel Kataev, Esq.
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                                                       514

Emanuel Kataev

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     Shipment--------------------
        USPS First Class Mail Flat
        Ship To:
            Sarkis Avoyants
            233 Avenue W
            BROOKLYN, NY 11223
        Package ID: 396371                          4.57
        Actual Wt: 0 lbs 4.1 ozs
        Rating Wt: 0.31 lbs
     Manilla Envelope 9x12                          0.75
     Labor                                          1.00
          SUBTOTAL                                  6.32
          TAX                                       0.00
          TOTAL                                     6.32
     TEND Credit Card                               6.32
     Total shipments: 1
     Emanuel Kataev: Sage Legal LLC
                                   02/10/2025
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